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 8                           IN THE UNITED STATES DISTRICT COURT

 9                       FOR THE EASTERN DISTRICT OF CALIFORNIA

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11   GREGORY GOODS,                                No. 2:17-CV-0660-JAM-CMK-P

12                  Plaintiff,

13          vs.                                    ORDER

14   TIM V. VIRGA, et al.,

15                  Defendants.

16                                        /

17                  Plaintiff, a prisoner proceeding pro se, brings this civil rights action pursuant to

18   42 U.S.C. § 1983.

19                  Plaintiff requests leave to proceed in forma pauperis and has submitted a

20   declaration that makes the showing required by 28 U.S.C. § 1915(a). The request to proceed in

21   forma pauperis will, therefore, be granted.

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 1             To:   The California Department of Corrections and Rehabilitation
                     1515 S Street, Sacramento, California 95814:
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 3                   Plaintiff is obligated to pay the full statutory filing fee of $350.00 for this action.

 4   In addition to any initial partial filing fee required to be assessed, plaintiff will be obligated to

 5   make monthly payments in the amount of twenty percent of the preceding month’s income

 6   credited to plaintiff’s inmate trust account. The agency referenced above is required to send to

 7   the Clerk of the Court the initial partial filing fee and thereafter payments from plaintiff’s inmate

 8   trust account each time the amount in the account exceeds $10.00, until the statutory filing fee of

 9   $350.00 is paid in full. See 28 U.S.C. § 1915(b)(2).

10                   Accordingly, IT IS HEREBY ORDERED that:

11                   1.      Plaintiff’s motion for leave to proceed in forma pauperis (Doc. 2) is

12   granted;

13                   2.      Plaintiff is required to pay the full statutory filing fee of $350.00 for this

14   action pursuant to 28 U.S.C. §§ 1914(a) and 1915(b)(1);

15                   3.      The director of the agency referenced above, or a designee, shall collect

16   from plaintiff’s inmate trust account an initial partial filing fee in accordance with the provisions

17   of 28 U.S.C. § 1915(b)(1) and shall forward the amount to the Clerk of the Court, such payment

18   to be clearly identified by the name and number assigned to this action;

19                   4.      Thereafter, the director of the agency referenced above, or a designee,

20   shall collect from plaintiff's inmate trust account the balance of the filing fee by collecting

21   monthly payments from plaintiff's inmate trust account in an amount equal to twenty percent

22   (20%) of the preceding month's income credited to plaintiff’s inmate trust account and

23   forwarding payments to the Clerk of the Court each time the amount in the account exceeds

24   $10.00 in accordance with 28 U.S.C. § 1915(b)(2), until the $350.00 filing fee for this action has

25   been paid in full, such payments to be clearly identified by the name and number assigned to this

26   action;

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 2                  5.     The Clerk of the Court is directed to serve a copy of this order and a copy

 3   of plaintiff's signed in forma pauperis affidavit to the address shown above; and

 4                  6.     The Clerk of the Court is further directed to serve a copy of this order on

 5   the Financial Department of the court.

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 7    DATED: August 6, 2018
 8                                                 ______________________________________
                                                   CRAIG M. KELLISON
 9                                                 UNITED STATES MAGISTRATE JUDGE
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